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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                     Case Number:___-CIV-__

 RAYMOND T. MAHLBERG,

        Plaintiff,
 v.


 CASPER SLEEP INC.,

        Defendant.

 ________________________________/


                      COMPLAINT FOR PERMANENT INJUCTIVE RELIEF

               COMES NOW, Plaintiff Raymond T. Mahlberg (“Plaintiff “or “Mahlberg”), by

 and through undersigned counsel, files this Complaint for Permanent Injunctive Relief pursuant to

 Title III of the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §§s 12181-12189

 (“ADA”), 28 U.S.C. §2201 and 2202 as well as 28 CFR Part 36 Regulations. Plaintiff state as

 follows:

                        INTRODUCTION AND NATURE OF THE ACTION

                1. This Court has jurisdiction over this case based on federal question Jurisdiction,

 as provided in 28 U.S.C. §1331 and the provisions of the ADA. Plaintiff seeks declaratory and

 injunctive relief pursuant to 28 U.S.C. §§2201 and 2202.

                2. Plaintiff is a visually-impaired and legally blind person (disabled) who requires

 assistance through screen-reading software to read website content using his computer. Plaintiff

 uses the term “blind” or “visually impaired” as legally blind. Disable as defined by ADA and

 Amendment acts of 2008, 42 USC §12101 (ADAAA).


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                 3. Defendant’s website https://www.casper.com (the “Website”) are not fully or

 equally accessible to blind or visually impaired consumers in violation of the “ADA.” As a result,

 Plaintiff seeks a permanent injunction to cause a change in CASPER SLEEP INC (“Defendant” or

 “Casper Sleep”) policies, practices and procedures so that Defendant’s Website will become, and

 remain, accessible to blind. Plaintiff seeks injunctive relief, attorneys’ fees and costs, including,

 but not limited to, court costs and expert fees, pursuant to Title III of the Americans with

 Disabilities Act of 1990, as amended, 42 U.S.C. §§s 12181-12189 (“ADA”) and 42 U.S.C. 2000a-

 3(a). See also 28 U.S.C. 2201 and 2202 as well as ADA 28 CFR Part 36 Regulations.

                 4. Plaintiff is unaware of the true names, identities, and capacities of all responsible

 parties (defendants) being sued. Plaintiff will seek leave to amend this complaint to allege the

 true names and capacities if and when ascertained. Plaintiff is informed and believes, and

 thereupon alleges, that Defendant is legally responsible in some manner for the events and

 happenings alleged herein and that Defendant sued here proximately caused injuries and damages

 to Plaintiff as set forth below.

                 5. Plaintiff is sui juris, and he is disabled as defined by the ADA and ADA

 Amendments Act of 2008, 42 U.S.C. §12101 (“ADAAA”). Defendant’s failure to design, build,

 maintain, and operate its Website to be fully and equally accessible to and independently

 operational by Plaintiff, constitutes in Defendant’s denial of full and equal access to physical

 stores and Website, resulting in a violation of Plaintiff’s rights under the Americans with

 Disabilities Act (“ADA”).

                 6. Defendant’s Website is a point of sale for the Defendant physical store. The

 Defendant’s e-commerce platform (https://www.casper.com “Website”) allows purchase of the

 same merchandise online or at the brick-mortar store.



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                  7. The Defendant owns and operates the Website for desktop and mobile point-of-

 sale and several mattress stores that are located in Florida.

                  8. Because Defendant is a store open to the public, each of Defendant’s physical

 stores is a place of public accommodation subject to the requirements of Title III of the ADA, 42

 U.S.C. §12182, §12181(7)(E), and its implementing regulations, 28 C.F.R. Part 36.

                  9. Plaintiff Raymond T. Mahlberg, a blind veteran of the U.S. military, residing in

 Orlando, Florida brings this action under the Americans with Disabilities Act in Federal Court.

                  10. Blind and visually impaired citizens must use screen reading software1 or other

 assistive technologies in order to access Website content.

                  11. Plaintiff cannot use his computer and mobile device browser without the

 assistance of appropriate and available screen reader software to understand website.

                  12. Defendant’s Website is built in digital code that impedes screen-reader

 software to work. A few lines of code could make the Defendant’s Website compatible with the

 popular blind’s screen-readers software and grant access to Defendant’s store to all blind

 individuals, including Plaintiff.

                  13.Screen reader software translates the visual internet into an auditory equivalent.

 which vocalizes visual information found on the computer screen. With this software, Plaintiff

 has successfully used more than 400 websites.

                  14. The software reads the content of a webpage to the user. The screen reading

 software uses auditory cues to allow a visually impaired user to effectively navigate the websites.




 1
   “screen reader” is a software application that enables people with severe visual impairments to use a computer.
 Screen readers work closely with the computer's Operating System (OS) to verbalize information about icons, menus,
 dialogue boxes, files and folders.


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                 15. Plaintiff visited the Website when at home, or on the go or in transit when

 visiting other cities. The purpose of the Website is to turn visitors into prospects. One of the

 functions of the Defendant’s Website is to provide the public information on the locations of

 Defendant’s stores through a “Boutique locator” feature. Defendant also sells to the public its

 merchandise through the Website, which acts as a point of sale for Defendant’s merchandise

 available in, from, and through Defendant’s physical stores and https://www.casper.com.

                16. This case arises out of the fact that Defendant Casper Sleep’s has operated its

 business in a manner and way that effectively excluding Plaintiff who are visually impaired from

 access to Defendant’s physical stores and online store (the Website). Because the Website, an e-

 commerce online platform, carries the same products in the physical store and connects

 individuals to make a purchase on the Website 24/7, the same way they would in the physical

 store (during limited hours 10am to 8pm). The Website has a nexus to, and is an extension of and

 gateway to the Defendant’s physical stores.

                17. Because the public can view and purchase Defendant’s goods through the

 Website that are also offered for sale in Defendant’s physical stores, thus having the Website act

 as a point of sale for Defendant’s products that are also sold in the physical stores, arrange in-

 store and curbside pickups of merchandise purchased online benefits for use online and in the

 physical stores, the Website is an extension of and gateway to the physical stores, which are places

 of public accommodation pursuant to the ADA, 42 U.S.C. §12181(7)(E).

                18. Even if the Website is not itself a place of public accommodation the

 Defendant’s physical stores are a place of public accommodation under 42 U.S.C. §12181(7)(E),

 and must comply with all requirements of the ADA. The Website is an extension and a necessary

 service, privilege, and advantage of the Defendant’s physical stores. Defendant must not



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 discriminate against individuals with visual disabilities and must not deny those individuals the

 same full and equal access to and enjoyment of the goods, services, privileges, and advantages

 afforded the non-visually disabled public both online and in the physical stores.

                19. As a result of Plaintiff being legally blind, before he embarks on any venture

 from his home, Plaintiff studies the location where Plaintiff is seeking to patronize through using

 the internet. Plaintiff has made innumerous attempts to access Defendant’s physical store and

 Website in the past, but Plaintiff could not locate the nearest store thru the Website neither pre-

 shop the Defendant’s merchandise because the Website is not readable by the screen-reader.

                20. Plaintiff intends to continue to access the Defendant’s physical store and make

 a purchase through the Website and pick up at curbside or just pre-shop. Plaintiff was informed

 that there is one of the Defendant’s physical store located at 7535 North Kendall Dr, Miami FL

 33156.

                21. Plaintiff is and has been a customer who is interested in patronizing and intends

 to patronize in the near future Defendant’s physical stores once the Website(s)’s access barriers

 are removed or remedied. The Plaintiff visited the online store many times and also visited a

 Caper Sleep store in another state. However, the barriers Plaintiff encountered on Defendant’s

 Website has impeded Plaintiff’s full and equal enjoyment of goods and services offered at

 Defendant’s brick-and mortar stores.

                22. Before Plaintiff visited Defendant’s physical store, Plaintiff needs to visit the

 store online, because the opportunity to shop and pre-shop Defendant’s products from Plaintiff’s

 home are important accommodations for Plaintiff; because as a visually disabled individual

 Plaintiff plans his outings in advance.




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                 23. Plaintiff is impeded to access and communicate with Defendant’s store and

 Website effectively; unable to take advantage and use one of the Defendant’s Website to pre-shop

 and purchase Defendant’s merchandise, to arrange in-store and curbside pickups of merchandise

 purchased online, create an account and sign up for an electronic emailer to receive exclusive

 online offers, benefits, invitations, and discounts for use both online and in the physical stores.

                 24. The privilege to navigate the Website(s) from anywhere, it is an important and

 necessary accommodation for Plaintiff because traveling outside of his home or as a visually

 disabled individual is an often challenging and fearsome experience. Defendant’s failure to

 provide auxiliary aids and services for effective communications is an act of discrimination

 against Plaintiff. Title III ADA 28 C.F.R. § 36.303.

                 25. However, unless Defendant is required to eliminate the access barriers at issue

 and required to change its policies so that access barriers do not reoccur on Defendant’s

 Website(s), Plaintiff will continue to be denied full access to Casper Sleep’s physical stores and

 the Website.

                                   JURISDICTION AND VENUE

                 26. This Court has jurisdiction over this case based on federal question jurisdiction, 28

 U.S.C. §1331, and the provisions of the ADA. Plaintiff seeks declaratory and injunctive relief pursuant

 to 28 U.S.C. §§2201 and 2202.

                27. Defendant has several shops in the State of Florida. Defendant conducts and

 continues to conduct a substantial and significant amount of business in this District.

                28. Venue is proper pursuant to 28 U.S.C. §1391, in the Southern District of Florida

 where defendant has retail stores and a substantial part of the events giving rise to the claims

 occurred. Personal jurisdiction exists when the Defendant purposefully availed itself of the

 conducting activities within the forum State.

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                29. Plaintiff’s claims asserted herein arose in this judicial district. Plaintiff was told

 that there is a Casper Sleep’s store near his area.

                30. Plaintiff is a resident of Orlando, FL 32817. is sui juris, and is disabled as

 defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C. §12101 (“ADAAA”).

                31. This is an action injunctive relief pursuant to Title III of the Americans with

 Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), 28 C.F.R. § 36.201 and to prevent

 discrimination which includes equal access and effective communications with Defendant’s

 business. This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1343.

                32. Defendant is subject to personal jurisdiction in this District. Defendant has been

 and is committing the acts or omissions alleged herein in the Southern District of Florida that

 caused injury, and violated rights prescribed by the ADA to Plaintiff. A substantial part of the acts

 and omissions giving rise to Plaintiff’s claims occurred in the Southern District of Florida.

 Specifically, on several separate occasions, Plaintiff has been denied the full use and enjoyment of

 the facilities, goods, and services of Defendant’s Website in Florida. The access barriers Plaintiff

 encountered on Defendant’s Website has caused a denial of Plaintiff’s full and equal access

 multiple times in the past, and now deter Plaintiff on a regular basis from accessing Defendant’s

 Website. Defendant Casper Sleep Inc. is authorized to conduct, and is conducting, business within

 the State of Florida and within the jurisdiction of this court.

                                          THE PARTIES

                33. Plaintiff Mahlberg, is a resident of the State of Florida. Plaintiff resides in

 Orlando. Mahlberg is legally blind, and a member of a protected class under the ADA. Whereby,

 Plaintiff has a disability within the meaning of 42 U.S.C. § 12102(1)-(2), the regulations

 implementing the ADA set forth at 28 CFR §§ 36.101 et seq. and in 42 U.S.C. 3602, §802(h).

 Plaintiff suffered an assault to the back of his head in 2004 which caused damage and atrophy of

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 the optic nerve, and as a consequence, is legally blind. Plaintiff is a legally blind individual who

 has a physical impairment that substantially limits the major life activity of seeing. Accordingly,

 Mahlberg has a disability within the meaning of 42 U.S.C. § 12102 and 28 C.F.R. § 35.104.

 Plaintiff is a qualified individual with a disability within the meaning of 42 U.S.C. § 12131(2), 29

 U.S. Code § 794 and 28 C.F.R. § 35.104.

                34. Plaintiff cannot use the computer without the assistance of a screen reader

 software. Mahlberg is a proficient user of the JAWS screen-reader to access the internet." JAWS,

 or "Job Access With Speech," uses keyboards keys to navigate the website by reading loud the

 website. For screen-reading software to work, the information on a website must be capable of

 being rendered into text-description. A description of the image, icons and navigate in an organized

 order.

                35. Defendant is a foreign for profit limited liability company. Defendant is the

 owner and operator of a chain of several of mattress stores under the brand named Casper Sleep

 produces and distributes mattress materials to its shops and distributors in Florida.

                36. Upon information and belief, at all times material hereto, Defendant owns,

 operates, and/or manages the day-to-day affairs of Casper Sleep’s stores which are operating

 within the State of Florida. Defendant’s store are public accommodations pursuant to 42 U.S.C. §

 12181(7)(E).

                37. Plaintiff believes, and thereon alleges, that defendant Casper Sleep Inc

 corporation and affiliates and/or related entities, actively engaged in the sale of apparel in various

 states throughout the country, including Florida.

                38. Said Defendant entities will hereinafter collectively be referred to as “Casper

 Sleep” or, where appropriate, “Defendant.”



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                                               FACTS

                39. Defendant is defined as a “Place of Public Accommodation" within meaning of

 Title III because Defendant is a private entity which owns and/or operates “[A] bakery, grocery

 store, hardware store, shopping center, or other sales establishment,” 42 U.S.C. §12181(7)(E) and

 28 C.F.R. §36.104(5).

                40. Each of Defendant Casper Sleep’s stores are open to the public and each is a

 Place of Public Accommodation subject to the requirements of Title III of the ADA and its

 implementing regulation as “[A] … other sales establishment,” as defined by 42 U.S.C.

 §12181(7)(E); §12182, and 28 C.F.R. Part 36.

                41. Casper Sleep’s offers mattress for sale to the general public.

                42. Defendant has control over several points of sale including the Website, its

 content, design and source-code, and/or operates his web pages, including image and data

 content. Defendant owns and operates the domain name https://www.casper.com that is

 configured for use by desktop computer and mobile devices such as smartphones.

                43. One of the functions of Defendant’s Website (available to browse in mobile or

 computer version) is to provide the public information on the various locations of Defendant’s

 stores that sell mattress. The other function of the Website is to sell Defendant’s products.

                44. Defendant’s Website is offered by Defendant as a way for the public to

 communicate with Casper Sleep’s mattress. Defendant’s Website also permits the public to register

 and create an account that allows the general public to order and purchase mattress, provides:

 customer service and locate a shop.




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                  45. Blind Plaintiff needs to plan his outgoings since at the physical store it is

  difficult to know the prices, price tags are not in Braille. Like innumerous customers, Plaintiff

  rather to accesses Defendant’s Website since online purchase is faster or at least pre-purchase

  before Plaintiff goes to the store. Plaintiff has a concrete plan of visiting the store because Plaintiff

  admires the quality of Defendant’s products and would like to buy it in a regular basis.

                  46. Plaintiff is a customer of Casper Sleep’s stores since his intent to continue

  visiting a Casper Sleep’s store near his home or on-the-go. Plaintiff through his inquiries learned

  that there are a few Casper Sleep’s shops in his area.

                  47. During the month of December 2023, on several occasions, Plaintiff was denied

  access to Defendant’s Website, because the Website is incompatible to screen-reader software.

  Plaintiff explains that the Website contains the following access barriers that prevent him from

  free and full use of screen reader software. Plaintiff encountered these barriers that are persistent

  and include, but are not limited to:

          a. On https://stores.casper.com/ the feature “Find a location” skips the address of the store

  because it has no focus. Check the issue at https://youtu.be/XRh9faW1k6U.

          b. The images of the mattress have no alternative text, neither they have focus, The Website

  skips the images. Images should have a meaningful description so screen-readers can announce it.

  Check the issue at https://youtu.be/pOUsOqzK_qs.

          c. On the landing page the banners are skipped and not announced. Components do not

  receive focus in an order that maintains meaning and operability. Check the issue at

  https://youtu.be/VsmyRYidHeY.

          d. On the product page the Website skips the price, the item and model number. In

  addition, when “Add to Cart” the Website does not announce that was added and what is in the



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  Cart but announces the wrong price to checkout. It cannot be selected with keyboard (mouse

  only), screen readers work with keyboard keys to navigate. Check the issue at

  https://youtu.be/H4B4DJSrGgE.

         d. If an input error is shown on the screen (for example when trying to sign up-enter valid

  email) and the message is shown on the screen, the error is not announced. The user is not aware

  of the errors that are highlighted in red on the screen.

         e. Plaintiff cannot remove item from the cart. product page when you select pick up at the

  store feature. The website skips the Aisle and Bay number where you should find the product.

         g. The background, text and products have poor contrast. Also, the Website does not

  provide a zoom feature.

                 48. Plaintiff encountered the following barrier when Plaintiff was unable and

  impeded to access and unable to learn about (1) Defendant’s store locations open in his area; (2)

  the cost of Defendant’s mattress and pillows; (3) pre-shop and purchase a Casper Sleep’s mattress

  on the Website and pick up at the Casper Sleep’s store; (4) offers and discounts; and (5) product

  pricing and “add to bag” to finalize an online purchase. Thus, Defendant’s Website creates an

  intangible barrier that prevents Mahlberg from “’accessing a privilege’ of a physical place of public

  accommodation, where Plaintiff cannot locate the defendant’s store, pre-purchase or locate

  Defendant’s store.

                 49. During Plaintiff’s several visits to the Website using NVDA most popular

  screen-reader for computer and smartphone browsing, occurring on December 8, 2023 and the last

  on January 9, 2024, attempted to visit the physical store by checking the Website first, however

  the plaintiff encountered multiple access barriers that denied the plaintiff full and equal access to




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  the facilities, goods and services offered to the public and made available to the public; and that

  denied the plaintiff the full enjoyment of the Defendant’s facilities, goods, and services.

                             AMERICAN WITH DISABILITIES ACT

                 50. The failure to access the information needed precluded Plaintiff’s ability to

  patronize Casper Sleep’s stores because, as a blind individual, Plaintiff needs to plan his outings

  out in detail in order to have the proper financing for a venture, and ensure that Plaintiff arrives at

  a given location.

                 51. Under Title III of the ADA, 42 U.S.C. §§ 12181–12189 (“Title III”), which

  addresses “Public Accommodations and Services Operated by Private Entities.” Title III provides

  that “[n]o individual shall be discriminated against on the basis of disability in any place of public

  accommodation.” 42 U.S.C. § 12182(a).

                 52. Title III provides that “no individual shall be discriminated against on the basis

  of disability” in “any Place of Public Accommodation.” 42 U.S.C. § 12182(a). As defined in Title

  III, the term “public accommodation” includes a “store and sales establishment” Id. § 12181(7)(E).

  Defendant owns and operates stores, Casper Sleep.

                 53. Binding Court acknowledged that Title III’s public accommodation protection

  “covers both tangible and intangible barriers, such as screening rules or discriminatory procedures

  that restrict a disabled person’s ability to enjoy the defendant entity’s services and privileges.

                 54. On March 18, 2022, The Department of Justice issued Web Accessibility

  Guidance under the Americans with Disability Act. It explains how businesses open to the public

  (entities covered by ADA Title III) can make sure their website is accessible to people with

  disabilities in line with the ADA’s requirements. (Exhibit B). The guidance discusses the

  importance of web accessibility, barriers that inaccessible websites create for people with



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  disabilities, tips on making web content accessible and applied the Web Content Accessibility

  Guidelines (“WCAG”) 2.1 to determine accessibility. See https://www.justice.gov/opa/pr/justice-

  department-issues-web-accessibility-guidance-under-americans-disabilities-act.

                 55. Title III ADA Part 36 regulation was amended to integrate section 36.303

  Auxiliary Aids and Services “A public accommodation shall furnish appropriate auxiliary aids and

  services where necessary to ensure effective communication with individuals with disabilities.”

                 56. The access barriers Plaintiff encountered on Defendant’s Website has caused a

  denial of Plaintiff’s full and equal access multiple times in the past, and now deter Plaintiff on a

  regular basis from accessing Defendant’s Website.

                 57. Plaintiff would like to become Defendant’s patron and access the Defendant’s

  physical store and the Defendant’s Website in the near future but the barriers Plaintiff encountered

  on Defendant’s Website has impeded Plaintiff’s full and equal enjoyment of goods and services

  offered at Defendant’s brick-and mortar stores.

                 58. The fact that Plaintiff could not access the Defendant’s Website and could not

  comprehend the Website pages contained therein, left Plaintiff excluded from accessing Casper

  Sleep’s stores, goods and services available from Defendant and further affects Plaintiff with the

  sense of segregation, rejection, isolation, humiliation, frustration and unable to participate in a

  manner equal to that afforded to others who are not similarly disabled. As a result, Plaintiff has

  suffered in a personal and individual way a particularized harm and an injury in fact.

                 59. Plaintiff cannot make proper arrangements for transportation of himself to the

  Casper Sleep’s store locations without the ability to know in advance the Casper Sleep’s goods

  and services which service is available online through Defendant’s Website. Plaintiff also faces a




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  great degree of uncertainty of how to physically travel to Defendant Casper Sleep’s store location.

  Plaintiff is effectively denied the ability to physically travel to Defendant Casper Sleep’s store.

                 60. Plaintiff has a concrete plan to purchase Casper Sleep’s appliances and finishing

  materials, when he is treated like other members of the public. By denying Plaintiff the opportunity

  to comprehend Casper Sleep’s Website therein due to Plaintiff’s disability (visual impairment),

  Defendant has denied Plaintiff the opportunity to participate in or benefit from Defendant’s goods

  and services as afforded to the public.

                 61. Plaintiff will suffer continuous and ongoing harm from Defendant’s omissions,

  policies, and practices set forth herein unless enjoined by this Court.

                 62. On information and belief, Defendant has not offered any form of Website in

  an accessible format for blind or visually impaired individuals.

                 63. Thus, Defendant has not provided full and equal enjoyment of the services,

  facilities, privileges, advantages, and accommodations provided at its stores and authorized

  retailers.

                 64.    All Public Accommodations must ensure that their Places of Public

  Accommodation provide Effective Communication for all members of the general public, including

  individuals with disabilities pursuant Title III ADA 28 C.F.R. § 36.303.

                 65. Binding case law increasingly recognize that private entities are providing

  goods and services to the public through their online point of sale which operates as “Places of

  Public Accommodation” under Title III.

                 66. A person who cannot see, like the Plaintiff in this case, cannot go to Defendant’s

  Website and avail themselves of the same privileges. Thus, the Plaintiff has suffered discrimination

  due to Defendant’s failure to provide a reasonable accommodation for Plaintiff’s disability.



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                 67. Plaintiff has no plain, adequate, or complete remedy at law to redress the

  wrongs alleged hereinabove and this suit for injunctive relief is his only means to secure adequate

  redress from Defendant’s unlawful and discriminatory practices.

                 68. Notice to Defendant is not required as a result of Defendant’s failure to cure the

  violations. Enforcement of the rights of Plaintiff is right and just pursuant to 28 U.S.C. §§ 2201,

  2202.

                 69. Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28

  U.S.C. §§ 2201 and 2202 and Title III ADA Subpart E Section 36.501.

                 70. Plaintiff has retained the law office of Acacia Barros, Esq. and has agreed to

  pay a reasonable fee for services in the prosecution of this cause, including costs and expenses

  incurred. Plaintiff is entitled to have reasonable attorneys’ fees, costs and expenses paid by

  Defendant Casper Sleep’s.

     COUNT I – VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

                 71. Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

  subtitle of Title III of the ADA, which prohibits discrimination on the basis of disability by Public

  Accommodations and requires Places of Public Accommodation to be designed, constructed, and

  altered in compliance with the accessibility standards established by Part 36 Regulation.

                 72. Defendant’s Website has not been designed to interface with the widely and

  readily available technologies for blinds that can be used to ensure effective communication.

                 73. As delineated above and pursuant to 42 U.S.C. §12181(7)(E), Defendant is a

  Public Accommodation under the ADA because it owns and/or operates the Website which is

  defined within §12181(7)(E), and is subject to the ADA.




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                 74. No notice is required because under Title III of the ADA, 42 U.S.C. §

  12182(b)(1)(A)(II), it is unlawful discrimination to deny individuals with disabilities or a class of

  individuals with disabilities an opportunity to participate in or benefit from the goods, services,

  facilities, privileges, advantages, or accommodation, which is equal to the opportunities afforded

  to other individuals.

                 75. Unlawful discrimination includes “a failure to make reasonable modifications

  in policies, practices, or procedures, when such modifications are necessary to afford such goods,

  services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

  unless the entity can demonstrate that making such modifications would fundamentally alter the

  nature of such goods, services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §

  12182(b)(2)(A)(II).

                 76. Unlawful discrimination also includes “a failure to take such steps as may be

  necessary to ensure that no individual with a disability is excluded, denied services, segregated or

  otherwise treated differently than other individuals because of the absence of auxiliary aids and

  services, unless the entity can demonstrate that taking such steps would fundamentally alter the

  nature of the good, service, facility, privilege, advantage, or accommodation being offered or

  would result in an undue burden.” 42 U.S.C. § 12182(b)(2)(A)(III).

                 77. Defendant is in violation of the ADA by creating barriers for individuals with

  disabilities who are visually impaired and who require the assistance of interface with screen reader

  software to comprehend and access its Website. These violations are ongoing.

                 78. As a result of the inadequate development and administration of Defendant’s

  Website, Plaintiff is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and §12188, also 28

  C.F.R. §36.501 to remedy the discrimination.



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                 79. Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

  Plaintiff Mahlberg injunctive relief; including an order to:

                 a) Require Defendant take the necessary steps to make all Defendant’s Website

  readily accessible to and usable by visually impaired users, and during that time period prior to the

  Website being readily accessible, to provide a temporary alternative method for individuals with

  visual impairments to access the information available on the Website until such time that the

  requisite modifications are made. Title III American with Disabilities Act Part 36 Regulation.

                 b) Require Defendant to provide periodic maintenance of the accessible website

  thru the appropriate auxiliary aids such that individuals with visual impairments will be able to

  always receive communication effectively with the Website for purposes of viewing and locating

  Casper Sleep’s stores and becoming informed of and signing up for Casper Sleep’s mattress, and

  of viewing electronic documents provided to the public within Defendant’s Website.

                 c) During the time period prior to the Website’s being designed to permit

  individuals with visual impairments to effectively communicate, requiring Defendant to provide

  an alternative method for individuals with visual impairments to effectively communicate so they

  are not impeded from obtaining the goods and services made available to the public. Title III ADA

  Part 36 Regulation.

                 80. For all of the foregoing, the Plaintiff has no adequate remedy at law.

                                      DEMAND FOR RELIEF

                 WHEREFORE, Plaintiff RAYMOND T. MAHLBERG hereby demands

  judgment against Defendant “Casper Sleep Inc” and requests the following injunctive relief

  permanently enjoin Defendant from any practice, policy and/or procedure which will deny Plaintiff

  equal access to, and benefit from Defendant’s services and goods, as well as the Court:



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                 a. That the Court issue a Declaratory Judgment that determines that the Defendant’s

  Website at the commencement of the subject lawsuit is in violation of Title III of the Americans

  with Disabilities Act, 42 U.S.C. § 12181 et seq.;

                 b. That the Court enter an Order directing Defendant to continually update and

  maintain their computer version of the defendant’s Website to ensure that it remains fully

  accessible to and usable by visually impaired individuals;

                 c. That the Court issue an Injunctive relief order directing Defendant to alter their

  Website to make it accessible to, and useable by, individuals with disabilities to the full extent

  required by Title III of the ADA;

                 d. That the Court enter an Order directing Defendant to evaluate and neutralize their

  policies and procedures towards persons with disabilities for such reasonable time so as to allow

  Defendant to undertake and complete corrective procedures;

                 e. Further requests the Court to retain jurisdiction for a period to be determined to

  ensure that Defendant has adopted and is following an institutional policy that will in fact cause

  Defendant to remain fully in compliance with the law;

                 f. That the Court enter an award of attorney’s fees, costs and litigation expenses

  pursuant to 42 U.S.C. § 12205; and Title III of the ADA Section 36.505.


                                               Respectfully submitted,

  Dated this 18th day of January 2024.


                                                 /s/Acacia Barros
                                                 Attorney for Plaintiff
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                                                 Acacia Barros, Esq.
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                                                 Miami, Florida 33176

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                                    CERTIFICATE OF SERVICE

             I hereby certify that on this 18th day of January 2024 that the foregoing document has

  been filed using CM/ECF system and will be served via email when Defendant’s counsel enters

  an appearance.




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